                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:13-cr-16
v.                                                    )
                                                      )       COLLIER / LEE
ANGELA CHRISTINE STAHL                                )


                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Counts One and Twenty-Nine of the

thirty-six-count Indictment; (2) accept Defendant’s plea of guilty to Counts One and Twenty-Nine

of the Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts One and

Twenty-Nine of the Indictment; (4) defer a decision on whether to accept the plea agreement until

sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter (Court File

No. 33). Neither party filed a timely objection to the report and recommendation. After reviewing

the record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File

No. 33) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Counts One and Twenty-Nine

               of the Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Counts One and Twenty-Nine of the Indictment is

               ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

               Twenty-Nine of the Indictment;



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      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, September 12, 2013 at 9:00 a.m.

            [EASTERN] before the Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                         /s/
                                         CURTIS L. COLLIER
                                         UNITED STATES DISTRICT JUDGE




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